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          EXHIBIT 1
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                                 NO. 19-430

                              In the
                  Supreme Court of the United States

             ATHENA DIAGNOSTICS, INC., OXFORD UNIVERSITY
          INNOVATION LTD., AND MAX-PLANCK-GESELLSCHAFT ZUR
                FORDERUNG DER WISSENSCHAFTEN E.V.,
                                                        Petitioners,
                                       v.

                 MAYO COLLABORATIVE SERVICES, LLC,
           DBA MAYO MEDICAL LABORATORIES, AND MAYO CLINIC,

                                                        Respondents.


                On Petition for a Writ of Certiorari to the
          United States Court of Appeals for the Federal Circuit


        BRIEF OF OF THE HONORABLE PAUL R. MICHEL (RET.)
         AS AMICUS CURIAE IN SUPPORT OF PETITIONERS


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                      INTEREST OF AMICUS CURIAE 1
                  Amicus Curiae the Honorable Paul R. Michel (ret.)
             served on the U.S. Court of Appeals for the Federal
             Circuit for over twenty-two years. From 2004 until
             his retirement in May 2010, he was the chief judge of
             the court. During his twenty-two years of judicial
             service, he heard thousands of appeals and authored
             over 800 opinions, touching on all aspects of the court’s
             jurisdiction, including patent law.
                  Since he retired from the Federal Circuit, Judge
             Michel has maintained an active role in the public
             dialogue about optimal policies governing intellectual
             property and U.S. innovation. See, e.g., David Kappos
             & Hon. Paul R. Michel, The Smallest Salable Patent-
             Practicing Unit: Observations on Its Origins, Develop-
             ment, and Future, 32 Berkeley Tech. L.J. 1433 (2018);
             Paul R. Michel & Matthew J. Dowd, The Need for
             “Innovation Certainty” at the Crossroads of Patent and
             Antitrust Law, CPI Antitrust Chronicle (Apr. 2017);
             Hon. Paul R. Michel, Judicial Litigation Reforms Make
             Comprehensive Patent Legislation Unnecessary as Well
             as Counterproductive, 14 Nw. J. Tech. & Intell. Prop.
             131 (2016).

             1 Pursuant to Supreme Court Rule 37.2(a), all parties received
             timely notice of the intent to le this brief, and consent was
             granted by all parties. Pursuant to Supreme Court Rule 37.6,
             no counsel for a party authored this brief in whole or in part,
             and no such counsel or a party made a monetary contribution
             intended to fund the preparation or submission of the brief. No
             person other than the amicus curiae, its members, or its counsel
             made any monetary contribution to the preparation or submis-
             sion of the brief.
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                    Judge Michel has also been invited to testify before
              Congress on substantive patent law issues that are
              critical to the Nation’s economic and innovative health.
              He testified at patent reform hearings in July 2017
              before the Subcommittee on Courts, Intellectual Prop-
              erty, and the Internet of the House Committee of the
              Judiciary.2 More recently, in June 2019, he testified
              before the Subcommittee on Intellectual Property of
              the U.S. Senate Committee on the Judiciary.3
                   Judge Michel is one of the nation’s leading patent
              law experts, having a unique combination of judicial
              experience and legal expertise. Importantly, he has a
              total absence of any financial conflicts of interest. He
              does not advocate on behalf of parties, does not own
              stocks or bonds, does not serve as an employee of any
              entity, and does not belong to any lawyer’s association
              or trade group. The only exception is his unpaid ser-
              vice on the Board of the Intellectual Property Owners
              Education Foundation, which seeks to educate the
              public about intellectual property. His sole objective is
              to respectfully share his perspective as a true friend
              of the Court to ensure that the U.S. patent system
              creates the optimal incentives for inventors, innovators,
              and investors—as it has traditionally done.
                   In view of Judge Michel’s unique experience and
              perspective, he offers his arguments as amicus curiae
              directly in his own words.

              2 Judge Michel’s supplemental testimony is available here:
              https://www.scribd.com/document/381649917/Supplemental-
              Statement-of-Paul-R-Michel-Sept-12-2017.
              3 Judge Michel’s testimony is available here: https://www.judiciary.
              senate.gov/imo/media/doc/Michel%20Testimony.pdf.
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                         SUMMARY OF ARGUMENT
                   To borrow Malcolm Gladwell’s phrase, we have
              reached a “tipping point” in patent law. Perhaps more
              apropos is an analogy to the fantastical land of Lewis
              Carroll’s “Through the Looking-Glass.” Whatever the
              most apt literary reference or analogy, one thing is
              absolutely certain: The Federal Circuit’s menagerie
              of patent-eligibility decisions over the past decade are
              devoid of any semblance of consistency. They have
              created an unbounded and detrimental uncertainty in
              biotechnology innovation, and the law needs clarif-
              ication and correction.
                   The outcome here is the ultimate manifestation
              of the palpable legal confusion. The majority of the en
              banc Federal Circuit believes patent protection should
              be available for the novel diagnostic method for
              detecting a life-altering autoimmune disease. Yet the
              court denied patent protection at the threshold stage
              of eligibility because, as Judge Lourie put it, they felt
              “bound by the Supreme Court’s decision” in Mayo
              Collaborative Services v. Prometheus Laboratories, Inc.,
              566 U.S. 66 (2012).
                   During my years on the bench and the near-decade
              since I left judicial service, I know of no remotely
              similar outcome where the majority of the Federal
              Circuit believed that a life-saving medical invention
              was at least eligible for patent protection but never-
              theless shut the door at the threshold stage before even
              considering the merits of the underlying invention.
              In Judge Moore’s view, the majority thought its “hands
              are tied,” even though she and several other judges
              believed that the outcome was not preordained by
              Mayo.
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                   This fundamental rift within the Federal Circuit
              is all the more concerning because, on all accounts,
              the invention in this case is a lifesaving, innovative
              medical advance—precisely the type the U.S. patent
              system should and must protect. Patent protection is
              supposed to be the economic incentive that promotes
              the progress of the Useful Arts. But the utter doctrinal
              confusion has created a legal quagmire that impedes
              technological progress and the societal benefits that
              flow from groundbreaking innovation.

                                   ARGUMENT

              I.   NEVER BEFORE HAS THE FEDERAL CIRCUIT
                   BEEN SO SPLINTERED ON A FUNDAMENTAL
                   DOCTRINE OF PATENT LAW
                    During my twenty-two years on the bench, I do
              not recall any other legal issue—in patent law or any
              other issue within the Federal Circuit’s jurisdiction—
              that created such disharmony, disagreement, and
              inconsistency. The appeals court has reached a point
              in its decisionmaking where it produces opinions on
              patent eligibility that cannot satisfy the needs of invent-
              ors, investors, and innovative businesses. One cannot
              distinguish eligible subject matter from ineligible, with
              any reasonable certainty. This is unsustainable and
              contrary to the very reason Congress established the
              Federal Circuit in 1982.
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                  A. Eight Separate Opinions Result in
                     Patent Invalidation, Even Though the
                     Majority Thought the Invention was
                     Patent Eligible
                   On one level, it is nearly impossible to overstate
              the level of judicial discordance in this case, with the
              Federal Circuit producing multiple opinions denying
              the petition for rehearing en banc. The appellate
              process yielded eight separate opinions, with over-
              lapping authorship and reasoning. Never before have
              I witnessed such an outcome when there is majority
              agreement about the beneficial value of the underlying
              invention.
                   This result is easily the most fractured patent case
              to reach this Court since it took a renewed interest in
              patent law decisions almost twenty years ago. See
              generally John F. Duffy, The Festo Decision and the
              Return of the Supreme Court to the Bar of Patents,
              6 S. Ct. Rev. 273 (2002). In fact, the judicial disagree-
              ments in prior patent-eligibility cases before this Court
              seem tame compared to the eight opinions here. Cf.
              Alice Corp. v. CLS Bank Int’l, 573 U.S. 208 (2014);
              Mayo, 566 U.S. at 66; Bilski v. Kappos, 561 U.S. 208
              (2010). This unprecedented intra-circuit split is reason
              enough to grant review. Indeed, in Bilski, the Court
              granted review, noting that the Federal Circuit “pro-
              duced five different opinions.” Bilski, 561 U.S. at 600.
              But even with those five opinions, all but one judge
              thought that the claimed method of commodities
              hedging was not patent eligible.
                   On another level, this case is remarkable for its
              nearly uniform request for help. I do not repeat all the
              salient points from the Federal Circuit’s eight opinions
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              here, as Petitioners have ably summarized those
              opinions and explained why review is warranted. But
              a limited examination of the eight opinions reveals
              sincere requests for this Court’s assistance. The con-
              sistent message running throughout the opinions—
              whether expressly or implicitly—is that this Court
              needs to clarify when lifesaving medical diagnostic
              inventions are eligible for patent protection. Pet.
              App. 62a (“The multiple concurring and dissenting
              opinions regarding the denial of en banc rehearing in
              this case are illustrative of how fraught the issue of
              § 101 eligibility, especially as applied to medical
              diagnostics patents, is.”).
                  In the first opinion, Judge Lourie, joined by Judges
              Reyna and Chen, lamented that the Federal Circuit
              “can accomplish little in [rehearing the case en banc],
              as we are bound by the Supreme Court’s decision in
              Mayo.” Id. at 58a. Next, Judge Hughes, joined by Chief
              Judge Prost and Judge Taranto, echoed this assess-
              ment:
                  I, for one, would welcome further explication of
                  eligibility standards in the area of diagnostics
                  patents. Such standards could permit patent-
                  ing of essential lifesaving inventions based
                  on natural laws while providing a reasonable
                  and measured way to differentiate between
                  overly broad patents claiming natural laws
                  and truly worthy specific applications.
              Id. at 63a. Following that, Judge Dyk, with Judges
              Hughes, and Chen, explicitly stated that “[i]t would be
              desirable for the Supreme Court to refine the Mayo
              framework to allow for sufficiently specific diagnostic
              patent claims with proven utility.” Id. at 71a. In his own
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              concurrence, Judge Chen reiterated his belief that
              the Federal Circuit “would benefit from the Supreme
              Court’s guidance as to whether it intended to override
              central tenets of” Diamond v. Diehr, 450 U.S. 175
              (1981), when it issued Mayo. Id. at 79a.
                    The four dissenting opinions also implicitly recog-
              nize the need for this Court’s intervention. In the
              first dissent, Judge Moore, joined by Judges O’Malley,
              Wallach, and Stoll, concluded with the following state-
              ment: “Your only hope lies with the Supreme Court
              or Congress.” Id. at 119a. While penned in disagree-
              ment with the majority, that sentiment acknowledges
              the reality in view of the majority’s denial of rehearing.
                   Judge Newman, joined by Judge Wallach, argued
              that “[t]he majority’s position is a flawed interpretation
              of the Court’s decision in Mayo.” Id. at 121a. Judge
              Stoll, joined also by Judge Wallach, asserted that the
              Federal Circuit’s “bright-line rule is based on an over-
              reaching and flawed test for eligibility, a test that
              undermines the constitutional rationale for having a
              patent system—promoting the progress of science and
              useful arts.” Id. at 136a.
                   Last was Judge O’Malley, who deemed the doc-
              trinal confusion as stemming directly from this Court’s
              precedent itself: “[T]he Supreme Court has instructed
              federal courts to read into Section 101 an ‘inventive
              concept’ requirement—a baffling standard that Con-
              gress removed when it amended the Patent Act in
              1952.” Id. at 139a. Accepting Judge O’Malley’s view,
              the Federal Circuit has its hands tied, as Judge Hughes
              said, and only this Court can correct what she sees as
              a fundamentally flawed interpretation of 35 U.S.C.
              § 101.
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                   In the end, taking all eight opinions together, my
              former colleagues on the appeals court need this Court
              to clarify and correct the law. The current situation,
              with the degree of legal uncertainty, is administra-
              tively unsustainable. And the status quo fundamentally
              impedes the basic purpose of the Federal Circuit—to
              bring uniformity to patent law. See Bonito Boats, Inc.
              v. Thunder Craft Boats, Inc., 489 U.S. 141, 162 (1989)
              (“Congress conferred exclusive jurisdiction of all patent
              appeals on the Court of Appeals for the Federal Circuit,
              in order to ‘provide nationwide uniformity in patent
              law.’” (quoting H.R. Rep. No. 97-312, at 20 (1981))).

                  B. A More Recent Federal Circuit Decision
                     Confirms the Doctrinal Confusion
                   Although touching on a different technology, one
              recent Federal Circuit decision confirms my view
              that the appeals court needs clarification of the law.
              This more recent case illustrates how far astray the
              appeals court has been led by the rote application of
              the two-step “Mayo/Alice analysis.”
                   In American Axle & Manufacturing, Inc. v. Neapco
              Holdings LLC, 939 F.3d 1355 (Fed. Cir. 2019), a
              majority held as not patent eligible a “method for
              manufacturing a shaft assembly of a driveline system.”
              The majority seemed to think that because a law of
              nature was utilized in making the shaft assembly—
              an actual physical object—the claim was not patent
              eligible.
                  This conclusion, in my view, represents a gross
              misapplication of § 101 and undermines the very
              purpose of the Patent Act. The decision takes the
              seemingly unprecedented step of declaring a physical
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              process, i.e., a method of making a tangible article of
              manufacture that has real-world uses and benefits,
              to be not even eligible for patent protection. The denial
              of patent protection would perhaps be defendable if it
              were premised on a lack of novelty under § 102 or
              obviousness under § 103. But the result, as Judge
              Moore aptly explained in dissent, “expands § 101 well
              beyond its statutory gate-keeping function and the
              role of th[e] appellate court well beyond its authority.”
              939 F.3d at 1369 (Moore, J., dissenting).
                   It may be that the decision in American Axle is
              corrected on rehearing or later by this Court. The
              important point, for purposes of the present petition, is
              that American Axle is a symptom of existing doctrinal
              confusion over § 101. Without this Court’s intervention
              here (or Congress’s intervention with a legislative fix),
              I expect to see more troubling decisions by the courts
              that will adversely affect innovators in the medical
              diagnostics field.

              II.   THE C ONFUSION IN P ATENT E LIGIBILITY
                    EXTENDS WELL BEYOND THIS CASE, WITH THE
                    THREE BRANCHES OF GOVERNMENT ADOPTING
                    INCONSISTENT POSITIONS
                    The Federal Circuit’s hopelessly fractured outcome
              epitomizes the existing disagreement on patent eligib-
              ility among the branches of the Federal Government.
              Congress through statute has authorized broad patent
              eligibility, but the courts have imposed non-statutory
              restrictions. The Executive Branch, through the U.S.
              Patent and Trademark Office (“PTO”), is left adopting
              its own interpretation as it tries to grant patents on
              important biomedical advances. This disharmony
              among the three branches of the Federal Government
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              is all the more reason to grant the petition—partic-
              ularly when the strong consensus is that the underlying
              invention in this case is a groundbreaking advance in
              medical diagnostics.

                  A. Congress Has Statutorily Authorized
                     Broad Patent Protection, Which Should
                     Include Groundbreaking Biomedical
                     Technologies
                  What Congress intended with patent eligibility
              should have been clear. In 1952, Congress codified
              the four broad independent categories of invention
              that are eligible for patent protection: “any new and
              useful process, machine, manufacture, or composition
              of matter, or any new and useful improvement thereof.”
              35 U.S.C. § 101.
                   Appellate and district courts are instructed, as they
              should be, to focus on the statute’s express language.
              The text of § 101 recites four broad categories, without
              any narrowing qualifiers. In fact, Congress used the
              expansive modifier “any” when setting forth the four
              categories of invention. And that broad modifier should
              have been sufficient for the word “any” to mean “any.”
              E.g., SAS Inst. Inc. v. Iancu, 138 S. Ct. 1348, 1351
              (2018) (“[T]he word ‘any’ ordinarily implies every
              member of a group.”); see also Diamond v. Chakrabarty,
              447 U.S. 303, 308 (1980) (“In choosing such expansive
              terms . . . modified by the comprehensive ‘any,’ Congress
              contemplated that the patent laws should be given
              wide scope.”).
                  In the four explicit categories of inventions, there
              is no language which would suggest that innovative
              diagnostic methods, such as the one at issue in this
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              case, would not be patent eligible. Indeed, the claims
              in Athena Diagnostic’s patent (as set forth in the
              petition) describe a quintessential “process,” or method.
              Pet. 6–8.
                   Looking at the statute, there should be no ques-
              tion that Athena Diagnostic’s innovative method of
              diagnosing myasthenia gravis patients would be at
              least eligible of patent protection (recognizing that
              novelty and nonobviousness are separate requirements
              the invention must satisfy after the threshold inquiry
              on patent eligibility). But not so fast, as Congress’s
              statutory language is no longer the controlling language
              in patent-eligibility determinations.

                  B. Medical Diagnostic Inventions Have
                     Experienced Mixed Treatment by the
                     Judicial Branch
                   Despite the focused language of § 101, this Court
              has “long held that this provision contains an important
              implicit exception[:] Laws of nature, natural phenom-
              ena, and abstract ideas are not patentable.” Mayo, 566
              U.S. at 70 (internal quotation marks and brackets
              omitted). Those judicially created exceptions conflict
              with Congress’s statutory mandate. But even accepting
              the validity of those judicial exceptions for the sake
              of argument, there is little debate that those non-
              statutory exceptions have been the primary gremlins
              causing havoc in § 101 law. Michel & Dowd, supra, at
              2 (noting that Mayo, Alice, and Bilski “created enor-
              mous uncertainty about the patentability of medical
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                                           12


              diagnostics, software, computers, and business meth-
              ods”).4
                   For instance, in implementing these judicial excep-
              tions, the Federal Circuit has struck down claims to
              diagnostic inventions while simultaneously acknow-
              ledging the groundbreaking and valuable societal
              contribution of each invention. See Genetic Veterinary
              Scis., Inc. v. LABOKLIN GmbH & Co. KG, 933 F.3d
              1302 (Fed. Cir. 2019) (invalidating claims for detecting
              hereditary nasal parakeratosis in Labrador retrievers);
              Roche Molecular Sys., Inc. v. CEPHEID, 905 F.3d 1363
              (Fed. Cir. 2018) (invalidating a patent directed to novel
              methods for detecting the pathogenic bacterium Myco-
              bacterium tuberculosis); Genetic Techs. Ltd. v. Merial
              L.L.C., 818 F.3d 1369 (Fed. Cir. 2016) (invalidating a
              patent claiming a novel method of using noncoding
              sequences of DNA to detect mutations associated with
              various diseases); Ariosa Diagnostics, Inc. v. Sequenom,
              Inc., 788 F.3d 1371 (Fed. Cir. 2015) (invalidating an
              award-winning, groundbreaking, noninvasive method
              for detecting Down Syndrome and other fetal abnor-
              malities without having to use invasive and potentially
              dangerous amniocentesis); In re BRCA1-& BRCA2-
              Based Hereditary Cancer Test Patent Litig., 774 F.3d
              755 (Fed. Cir. 2014) (invalidating method claims for
              screening for genes linked to inherited breast and
              ovarian cancer).
                  At the same time, the Federal Circuit has affirmed
              the patent eligibility of inventions even though they
              undoubtedly use a “law of nature.” See, e.g., INO

              4 https://www.competitionpolicyinternational.com/wp-content/
              uploads/2017/04/CPI-Michel-Dowd.pdf
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              Therapeutics LLC v. Praxair Distribution Inc., No.
              18-1019, 2019 WL 4023576 (Fed. Cir. Aug. 27, 2019)
              (upholding claims for non-invasive methods and devices
              for accurately determining a person’s deep body temper-
              ature); Endo Pharms. Inc. v. Teva Pharms. USA, Inc.,
              919 F.3d 1347 (Fed. Cir. 2019) (upholding method of
              using oxymorphone to treat pain in patients with
              impaired kidney function); Natural Alternatives Int’l,
              Inc. v. Creative Compounds, LLC, 918 F.3d 1338 (Fed.
              Cir. 2019) (upholding claims for method of treatment
              using natural product beta-alanine); Vanda Pharms.
              Inc. v. West-Ward Pharms. Int’l Ltd., 887 F.3d 1117
              (Fed. Cir. 2018) (validating a patent related to a
              method of treating schizophrenia patients with iloper-
              idone); Rapid Litig. Mgmt. Ltd. v. CellzDirect, Inc., 827
              F.3d 1042 (Fed. Cir. 2016) (holding, as patent
              eligible, a method of producing a preparation of multi-
              cryopreserved hepatocytes).
                   Whether invalidated or not, each invention in the
              cited cases seems to be a “process” under the statutory
              language. But many of those processes fell prey to the
              judicial exceptions attack, as either an “abstract idea”
              or a “product of nature.” Unfortunately, with the
              current state of the law, it is difficult to know, with
              any reasonable certainty, if method claims covering
              diagnostics, biotechnology, or medical treatments will
              survive a § 101 validity attack.
                  I told Congress much the same in June 2019:
                  In my view, recent cases are unclear, incon-
                  sistent with one another and confusing. I
                  myself cannot reconcile the cases. That applies
                  equally to Supreme Court and Federal Circuit
                  cases. Nor can I predict outcomes in indiv-
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                  idual cases with any confidence since the law
                  keeps changing year after year. If I, as a judge
                  with 22 years of experience deciding patent
                  cases on the Federal Circuit’s bench, cannot
                  predict outcomes based on case law, how
                  can we expect patent examiners, trial judges,
                  inventors and investors to do so?
              The State of Patent Eligibility in America, Part I:
              Hearing Before the Subcomm. on Intellectual Property
              of the S. Comm. on the Judiciary, 116th Cong. 2 (2019)
              (Testimony of Hon. Paul R. Michel).
                   Ultimately, § 101 caselaw has become a menagerie
              of inconsistency, with the outcome never certain,
              even after knowing which Federal Circuit judges are
              deciding the appeal. The U.S. biotech and medical
              diagnostics industries deserve better, and this Court’s
              review is necessary.

                  C. The Patent Office Offers Its    Own
                     Guidance on the Patent Eligibility of
                     Medical Diagnostic Inventions
                   Added to Congress’s and the courts’ competing
              views on patent eligibility are the views of the PTO.
              The PTO’s Director Andrei Iancu has made impressive
              progress on providing clearer guidance to the innovation
              community. The PTO’s efforts are, in my view, very
              positive steps forward, but they present yet another
              interpretation of patent eligibility within the Federal
              Government.
                  Specifically, the PTO has issued new guidelines
              aimed to “improve certainty and reliability in how
              examiners apply § 101.” See, e.g., United States Patent
              and Trademark Office, 2019 Revised Patent Subject
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              Matter Eligibility Guidance, 84 Fed. Reg. 50, 52 (Jan. 7,
              2019). For instance, the guidance tries to contextualize
              and explain the “abstract idea” judicial exception by
              categorizing different “abstract ideas.” Id. This is
              supposed to help patent examiners “to more readily
              determine whether a claim recites subject matter that
              is an abstract idea.” Id. Whether it accomplishes its
              objectives is up for debate, and I question whether
              the “abstract idea” exception will ever be amenable to
              a consistent application, particularly for biotech and
              medical diagnostic inventions.
                   More recently, in October 2019, the PTO issued an
              update to its Patent Eligibility Guidance. See United
              States Patent and Trademark Office, October 2019
              Update: Subject Matter Eligibility (Oct. 17, 2019).5
              Included with the Updated Guidance were additional
              examples of hypothetical claims that the PTO considers
              to be either eligible or ineligible. Again, this additional
              agency guidance can be helpful, but only if consistent
              with controlling law. Many have argued that it is not.
                   While the guidance of an expert agency is help-
              ful, ultimately it does not bind the federal courts, as
              the Federal Circuit recently explained when it declined
              to consider the PTO’s Patent Eligibility Guidance. See
              Cleveland Clinic Found. v. True Health Diagnostics
              LLC, 760 Fed. App’x 1013, 1020 (Fed. Cir. 2019) (non-
              precedential). The end result is yet another competing
              application of 35 U.S.C. § 101. In the long term, this
              creates more confusion and uncertainty, as the PTO
              continues to issue medical diagnostic patents under

              5 https://www.uspto.gov/sites/default/files/documents/peg_oct_
              2019_update.pdf
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              its internal guidance which may not adhere to binding
              precedent of this Court.
                    Ultimately, the status quo leaves the innovation
              community wondering which branch of the Federal
              Government will ultimately have the final word. But
              as we know, until Congress steps in with a legislative
              fix, “[i]t is emphatically the province and duty of the
              Judicial Department to say what the law is.” Marbury
              v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803).

              III. THE U NCERTAINTY AND C ONFUSION WITH
                   PATENT ELIGIBILITY UNDERMINE INVESTMENT
                   IN THE U.S. BIOTECH AND MEDICAL DIAGNOSTICS
                   INDUSTRIES
                   In my years off the bench, I have had the inval-
              uable opportunity to interact with all sectors of the
              U.S. innovation community. I speak to various industry
              and interest groups. I learn which patent law issues
              most affect these companies and inventors. Based on
              these myriad conversations, I can say confidently
              that the one sector most adversely impacted by current
              patent-eligibility law is the medical diagnostic sector.
                   The medical diagnostic sector is immensely impor-
              tant. A 2005 industry report estimated that diagnostic
              tests formed the basis of 60%–70% of all medical
              treatment decisions. See The Lewin Group, The Value
              of Diagnostics Innovation, Adoption and Diffusion
              into Health Care (July 2005).6 That number has
              likely risen since then with the increasing importance
              of genetic-based testing. The development of diagnostic

              6 https://dx.advamed.org/sites/dx.advamed.org/files/resource/Lewin
              %20Value%20of%20Diagnostics%20Report.pdf
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              tests is expensive and time-consuming. One survey
              concluded that the average R&D and commercialization
              costs for a diagnostic test is between $50–$75 million
              and can exceed $100 million for developing and
              commercializing novel diagnostic technologies.
              Diaceutics Group, Mystery Solved! What Is the Cost
              to Develop and Launch a Diagnostic? (Jan. 15, 2013).7
                   In short, developing diagnostic tests and methods
              requires a substantial expenditure of capital, in addition
              to the human and time resources necessary. Rational
              market participants will make that investment only
              if they are reasonably likely to get a return on their
              investment. And in the medical diagnostics space,
              patent protection is necessary to ensure a reasonable
              return on the investment. Without patent protection,
              free-riding competitors will copy the innovator’s product
              and commercialize it without having to make the
              financial investment.
                  I have witnessed this problem personally with
              many companies, inventors, and investors, including
              those in the medical diagnostic space. I also have
              written on the topic with David Kappos, the former
              Director of the PTO:
                   This uncertain patent climate has a chilling
                   effect on innovation in biosciences to the detri-
                   ment of public health. . . . [I]nvestors are less
                   interested in funding costly new biomarker
                   diagnostic research. As a result, diseases will
                   go undiagnosed, and patients will suffer the
                   consequences. . . . Investment in diagnostics

              7 http://www.diaceutics.com/?expert-insight=mystery-solved-what-
              is-the-cost-to-develop-and-launch-a-diagnostic
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                   goes to the core of containing spiraling health
                   care costs, improving patient outcomes and
                   treating illnesses before they become debilit-
                   ating to suffering Americans.
              David Kappos & Paul R. Michel, Supreme Court Patent
              Decisions are Stifling Health Care Innovation, Morning
              Consult (Oct. 29, 2018).8
                   Unfortunately, the existing problems in patent-
              eligibility law are having detrimental effects on those
              in the medical diagnostics space. They fear a loss on
              their investments when patents covering ground-
              breaking and innovative diagnostic methods are being
              struck down at the threshold stage of § 101. No longer
              can they argue the merits of the invention or rely on
              objective evidence to demonstrate how their invention
              is a true advance in the “useful arts.” Instead, they
              must grapple with abstract and undefined terms such
              as “abstract idea.”
                   More importantly, they do not know which view of
              the law will prevail. Will it be the PTO’s new guidance
              on § 101 for patent examiners, or will it be the
              Federal Circuit’s implementation of the law? They
              simply do not know, and that is one of the major
              concerns I hear about when I interact with leaders in
              the field.
                   As I have written before, for innovation to thrive,
              the innovation creators need the proper environment
              that has sufficient “innovation certainty.” See Michel
              & Dowd, supra, at 1. An innovator needs intellectual
              capital, an educated workforce, and access to financial
              8 https://morningconsult.com/opinions/supreme-court-patent-
              decisions-stifling-health-care-innovation/
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              capital. These resources permit an innovator—whether
              a small or large company—to conduct the necessary
              research and development to create the next lifesaving
              diagnostic test. And the innovation certainty allows
              those companies to optimize those diagnostic tests and
              methods so that they become commercially successful,
              which in turn creates additional capital for the develop-
              ment of the next generation of diagnostic tests.
                   In short, the current state of the law under § 101 is
              destroying the innovation certainty needed for medical
              diagnostic companies to thrive in the United States.
              Those companies are increasingly turning to other
              jurisdictions, such as China and Europe, where the
              foreign patent systems offer the broader protection for
              medical diagnostic inventions. Rather than narrowing
              the scope of eligibility, those jurisdictions are expanding
              what can be patented.
                   These real-world effects on medical diagnostics
              innovators are another reason for this Court to accept
              this case for review. Indeed, this Court faced a similar
              milestone almost forty years ago when it was asked
              to determine if non-natural, genetically engineered
              organisms are patent eligible. Chakrabarty, 447 U.S.
              at 308. By the slimmest of margins (5-4), the Court
              said “yes” and affirmed the patent eligibility of those
              inventions. In doing so, the Court helped usher in a
              scientific and commercial revolution that led to a
              plethora of technologies in the biotech field.
                   A similar opportunity lies with the present peti-
              tion. This case is a chance to ensure that inventors
              of lifesaving medical diagnostics are rewarded for
              their efforts and that patent protection enables
              those innovators to develop the technologies and
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              obtain capital to develop future technologies—just
              like what occurred after Diamond v. Chakrabarty.

                                 CONCLUSION
                   For the foregoing reasons, the Honorable Paul R.
              Michel respectfully submits that the petition for a writ
              of certiorari should be granted.

                               Respectfully submitted,

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              NOVEMBER 1, 2019
